                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER



 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 4:08-cr-14-003
 vs.                                                  )
                                                      )       JUDGE MATTICE
 TONYA FRANCIS                                        )       MAGISTRATE JUDGE LEE
                                                      )


                                             ORDER


        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the ten-count

 Superseding Indictment (2) accept Defendant’s plea of guilty to Count One of the Superseding

 Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the Superseding

 Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and

 (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 275]. Neither party

 filed a timely objection to the report and recommendation. After reviewing the record, the Court

 agrees with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS

 and ADOPTS the magistrate judge’s report and recommendation [Doc. 275] pursuant to 28 U.S.C.

 § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Superseding

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Superseding Indictment is




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             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

             Superseding Indictment;

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, July 27, 2009 at 9:00 a.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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